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8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

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12   PAMELA DENISE PRINGLE,                   No.   2:18-cv-2035-WBS-KJN
13                 Plaintiff,

14        v.                                  ORDER
15   BRENT CARDALL, COUNTY OF YOLO,
     YOLO COUNTY PROBATION
16   DEPARTMENT, SANDY JONES, AMANDA
     GENTRY, NOEL BARLOW-HUST, CINDY
17   McDONALD, MARK ALAN KUBINSKI,
     ELISA SUE MAGNUSON, JOHN DOES 1-
18   20, and JANE DOES 1-20,
     inclusive,
19
                   Defendants.
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                                   ----oo0oo----
22
                Before this court is defendants’ Motion to Set Aside
23
     the Default and to Quash Service of Summons and the Amended
24
     Complaint.    (Docket No. 30.)
25
     I.   Motion to Set Aside the Default
26
                A court may set aside an entry of default for good
27
     cause.    Fed. R. Civ. P. 55(c).     Upon a careful review of the
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1    record, the court finds that good cause exists to set aside the

2    entry of default as to defendants Noel Barlow-Hust, Amanda

3    Gentry, Sandy Jones, Mark Alan Kubinski, Elisa Sue Magnuson,

4    Cindy McDonald, and Judy Mesick.         (Docket No. 22.)   Said motion

5    is therefore GRANTED.

6                The court withholds decision on whether to condition

7    this Order upon defendants’ payment of reasonable attorney’s fees

8    and costs for the preparation of plaintiff’s Motion for Default

9    Judgment.    As discussed at the hearing, within fourteen (14) days

10   from the date of this Order, the parties shall file any evidence

11   which would aid the court making that determination.          After

12   receipt of such materials the court will make its determination

13   on that issue.

14   II.   Motion to Quash Service

15               Pursuant to its discussion with the parties at oral

16   argument, the court will refrain from ruling on defendant’s

17   Motion to Quash Summons and Amended Complaint for fourteen (14)

18   days from the date of this order.        During that period, plaintiff

19   shall: (1) deliver or mail via certified mail two (2) copies of

20   the summons and complaint to the Attorney General or Assistant
21   Attorney General of the State of Idaho; and (2) serve each

22   defendant sued in his or her individual capacity with a full-size

23   copy of the summons and complaint via first-class mail, postage

24   prepaid, requiring a return receipt.        For the purposes of this

25   action, defendants’ counsel Elisa Sue Magnuson will accept

26   service on behalf of all defendants in their individual capacity.
27               When plaintiffs have complied with the foregoing

28   conditions, counsel shall so inform the court and the Motion to
                                          2
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1    Quash will be denied at that time.

2               IT IS SO ORDERED.

3    Dated:    February 21, 2019

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